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Screening Checklist       patient name


for Contraindications     date of birth
                                                                                month
                                                                                        /
                                                                                            day
                                                                                                  /
                                                                                                      year



to Vaccines for Children and Teens
                 For parents/guardians: The following questions will help us determine which vaccines your child may
                 be given today. If you answer “yes” to any question, it does not necessarily mean your child should not be
                 vaccinated. It just means additional questions must be asked. If a question is not clear, please ask your
                 healthcare provider to explain it.                                                                      don’t
                                                                                                       yes       no      know
 1. Is the child sick today?                                                                                        □      □      □
 2. Does the child have allergies to medications, food, a vaccine component, or latex?                              □      □      □
 3. Has the child had a serious reaction to a vaccine in the past?                                                  □      □      □
 4. Does
    	   the child have a long-term health problem with lung, heart, kidney or metabolic disease
    (e.g., diabetes), asthma, a blood disorder, no spleen, complement component deficiency,                         □      □      □
    a cochlear implant, or a spinal fluid leak? Is he/she on long-term aspirin therapy?

 5. If
    	 the child to be vaccinated is 2 through 4 years of age, has a healthcare provider told you
    that the child had wheezing or asthma in the past 12 months?                                                    □      □      □
 6. If your child is a baby, have you ever been told he or she has had intussusception?                             □      □      □
 7. 	Has the child, a sibling, or a parent had a seizure; has the child had brain or other
    nervous system problems?                                                                                        □      □      □
 8. Does the child have cancer, leukemia, HIV/AIDS, or any other immune system problem?                             □      □      □
 9. Does the child have a parent, brother, or sister with an immune system problem?                                 □      □      □
10. 	In the past 3 months, has the child taken medications that affect the immune system such
    as prednisone, other steroids, or anticancer drugs; drugs for the treatment of rheumatoid                       □      □      □
    arthritis, Crohn’s disease, or psoriasis; or had radiation treatments?

11. 	In the past year, has the child received a transfusion of blood or blood products, or been
    given immune (gamma) globulin or an antiviral drug?                                                             □      □      □
12. 	Is the child/teen pregnant or is there a chance she could become pregnant during the
    next month?                                                                                                     □      □      □
13. Has the child received vaccinations in the past 4 weeks?                                                        □      □      □

                 form completed by                                                                                  date

                 form reviewed by                                                                                   date

                 Did you bring your immunization record card with you?             yes □                     no □
                 It is important to have a personal record of your child’s vaccinations. If you don’t have one, ask the child’s
                 healthcare provider to give you one with all your child’s vaccinations on it. Keep it in a safe place and bring
                 it with you every time you seek medical care for your child. Your child will need this document to enter day
                 care or school, for employment, or for international travel.

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                                                                                   www.immunize.org/catg.d/p4060.pdf • Item #P4060 (8/19)
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Information for Healthcare Professionals about the Screening Checklist
for Contraindications to Vaccines (Children and Teens)
                     Are you interested in knowing why we included a certain question on the screening checklist? If so, read
                     the information below. If you want to find out even more, consult the references in Notes below.
     note: For supporting documentation on the answers given below, go to the                               note: For summary information on contraindications and precautions to vaccines,
     specific ACIP vaccine recommendation found at the following website:                                   go to the ACIP’s General Best Practice Guidelines for Immunization at www.cdc.gov/
     www.cdc.gov/vaccines/hcp/acip-recs/index.html                                                          vaccines/hcp/acip-recs/general-recs/contraindications.html

1. Is the child sick today? [all vaccines]                                                               8.	Does the child have cancer, leukemia, HIV/AIDS, or any other immune system
   There is no evidence that acute illness reduces vaccine efficacy or increases vaccine adverse             problem? [LAIV, MMR, MMRV, RV, VAR]
   events. However, as a precaution with moderate or severe acute illness, all vaccines should               Live virus vaccines (e.g., MMR, MMRV, VAR, RV, LAIV) are usually contraindicated in immuno-
   be delayed until the illness has improved. Mild illnesses (such as otitis media, upper respi-             compromised children. However, there are exceptions. For example, MMR is recommended
   ratory infections, and diarrhea) are NOT contraindications to vaccination. Do not withhold                for asymptomatic HIV-infected children who do not have evidence of severe immuno-
   vaccination if a person is taking antibiotics.                                                            suppression. Likewise, VAR should be considered for HIV-infected children age 12 months
                                                                                                             through 8 years with age-specific CD4+ T-lymphocyte percentage at 15% or greater, or for
2.	Does the child have allergies to medications, food, a vaccine component, or latex?                       children age 9 years or older with CD4+ T-lymphocyte counts of greater than or equal to
    [all vaccines]                                                                                           200 cell/µL. Immunosuppressed children should not receive LAIV. Infants who have been
    An anaphylactic reaction to latex is a contraindication to vaccines that contain latex as a              diagnosed with severe combined immunodeficiency (SCID) should not be given a live virus
    component or as part of the packaging (e.g., vial stoppers, prefilled syringe plungers, prefilled        vaccine, including RV. Other forms of immunosuppression are a precaution, not a contraindi-
    syringe caps). If a person has anaphylaxis after eating gelatin, do not administer vaccines              cation, to RV. For details, consult ACIP recommendations (see references in Notes above).
    containing gelatin. A local reaction to a prior vaccine dose or vaccine component, including
    latex, is not a contraindication to a subsequent dose or vaccine containing that component.          9.	Does the child have a parent, brother, or sister with an immune system problem?
    For information on vaccines supplied in vials or syringes containing latex, see www.cdc.gov/             [MMR, MMRV, VAR]
    vaccines-pubs/pinkbook/downloads/appendices/B/latex-table.pdf; for an extensive list of                  MMR, VAR, and MMRV vaccines should not be given to a child or teen with a family history
    vaccine components, see www.cdc.gov/vaccines/pubs/pinkbook/downloads/appendices/B/                       of congenital or hereditary immunodeficiency in first-degree relatives (i.e., parents, siblings)
    excipient-table-2.pdf. People with egg allergy of any severity can receive any recommended               unless the immune competence of the potential vaccine recipient has been clinically sub-
    influenza vaccine (i.e., any IIV, RIV, or LAIV) that is otherwise appropriate for the patient’s          stantiated or verified by a laboratory.
    age and health status. For people with a history of severe allergic reaction to egg involving
    any symptom other than hives (e.g., angioedema, respiratory distress), or who required              10.	In the past 3 months, has the child taken medications that affect the immune sys-
    epinephrine or another emergency medical intervention, the vaccine should be administered                tem such as prednisone, other steroids, or anticancer drugs; drugs for the treat-
    in a medical setting, such as a clinic, health department, or physician office. Vaccine admin-           ment of rheumatoid arthritis, Crohn’s disease, or psoriasis; or had radiation treat-
    istration should be supervised by a healthcare provider who is able to recognize and man-                ments? [LAIV, MMR, MMRV, VAR]
    age severe allergic conditions.5                                                                         Live virus vaccines (e.g., LAIV, MMR, MMRV, VAR) should be postponed until after chemo-
                                                                                                             therapy or long-term high-dose steroid therapy has ended. For details and length of time to
3. Has the child had a serious reaction to a vaccine in the past? [all vaccines]                             postpone, consult the ACIP statement. Some immune mediator and immune modulator
   History of anaphylactic reaction (see question 2) to a previous dose of vaccine or vaccine                drugs (especially the antitumor-necrosis factor agents adalimumab, infliximab, and etaner-
   component is a contraindication for subsequent doses. History of encephalopathy within                    cept) may be immunosuppressive. A comprehensive list of immunosuppressive immune
   7 days following DTP/DTaP is a contraindication for further doses of pertussis-containing                 modulators is available in CDC Health Information for International Travel (the “Yellow
   vaccine. There are other adverse events that might have occurred following vaccination that               Book”) available at wwwnc.cdc.gov/travel/yellowbook/2018/advising-travelers-with-specific-
   constitute contraindications or precautions to future doses. Under normal circumstances,                  needs/immunocompromised-travelers. The use of live vaccines should be avoided in persons
   vaccines are deferred when a precaution is present. However, situations may arise when the                taking these drugs. To find specific vaccination schedules for stem cell transplant (bone
   benefit outweighs the risk (e.g., during a community pertussis outbreak).                                 marrow transplant) patients, see General Best Practice Guidelines for Immunization (refer-
                                                                                                             enced in Notes above). LAIV, when recommended, can be given only to healthy non-preg-
4.	Does the child have a long-term health problem with lung, heart, kidney, or metabolic                    nant people ages 2 through 49 years.
   disease (e.g., diabetes), asthma, a blood disorder, no spleen, complement com-
   ponent deficiency, a cochlear implant, or a spinal fluid leak? Is he/she on long-term                11.	In the past year, has the child received a transfusion of blood or blood products,
   aspirin therapy? [MMR, MMRV, LAIV, VAR]                                                                   or been given immune (gamma) globulin or an antiviral drug? [MMR, MMRV, VAR]
    A history of thrombocytopenia or thrombocytopenic purpura is a precaution to MMR and                     Certain live virus vaccines (e.g., MMR, MMRV, VAR) may need to be deferred, depending on
    MMRV vaccines. The safety LAIV in children and teens with lung, heart, kidney, or metabolic              several variables. Consult the most current ACIP recommendations (referenced in Notes
    disease (e.g., diabetes), or a blood disorder has not been established. These conditions,                above) for the most current information on intervals between antiviral drugs, immune glob-
    including asthma in children ages 5 years and older, should be considered precautions for the            ulin or blood product administration and live virus vaccines.
    use of LAIV. Children with functional or anatomic asplenia, complement deficiency, cochlear
    implant, or CSF leak should not receive LAIV. Children on long-term aspirin therapy should          12.	Is the child/teen pregnant or is there a chance she could become pregnant during
    not be given LAIV; instead, they should be given IIV. Aspirin use is a precaution to VAR.                the next month? [HPV, IPV, LAIV, MMR, MMRV, VAR]
                                                                                                             Live virus vaccines (e.g., MMR, MMRV, VAR, LAIV) are contraindicated one month before and
5.	If the child to be vaccinated is 2 through 4 years of age, has a healthcare provider                     during pregnancy because of the theoretical risk of virus transmission to the fetus. Sexually
    told you that the child had wheezing or asthma in the past 12 months? [LAIV]                             active young women who receive a live virus vaccine should be instructed to practice careful
    Children ages 2 through 4 years who have had a wheezing episode within the past 12 months                contraception for one month following receipt of the vaccine. On theoretical grounds, IPV
    should not be given LAIV. Instead, these children should be given IIV.                                   should not be given during pregnancy; however, it may be given if risk of exposure is immi-
                                                                                                             nent (e.g., travel to endemic areas) and immediate protection is needed. IIV and Tdap are
6. If your child is a baby, have you ever been told that he or she has had intussusception?                 both recommended during pregnancy. HPV vaccine is not recommended during pregnancy.
    [Rotavirus]
    Infants who have a history of intussusception (i.e., the telescoping of one portion of the          13.	Has the child received vaccinations in the past 4 weeks? [LAIV, MMR, MMRV,
    intestine into another) should not be given rotavirus vaccine.                                           VAR, yellow fever]
                                                                                                             Children who were given either LAIV or an injectable live virus vaccine (e.g., MMR, MMRV,
7.	Has the child, a sibling, or a parent had a seizure; has the child had brain or other                    VAR, yellow fever) should wait 28 days before receiving another vaccination of this type.
    nervous system problem? [DTaP, Td, Tdap, IIV, LAIV, MMRV]                                                Inactivated vaccines may be given at the same time or at any spacing interval.
    DTaP and Tdap are contraindicated in children who have a history of encephalopathy within
    7 days following DTP/DTaP. An unstable progressive neurologic problem is a precaution to            vaccine abbreviations
    the use of DTaP and Tdap. For children with stable neurologic disorders (including seizures)
    unrelated to vaccination, or for children with a family history of seizures, vaccinate as usual        LAIV = Live attenuated influenza vaccine            RIV = Recombinant influenza vaccine
    (exception: children with a personal or family [i.e., parent or sibling] history of seizures           HPV = Human papillomavirus vaccine                  RV = Rotavirus vaccine
    generally should not be vaccinated with MMRV; they should receive separate MMR and VAR                 IIV = Inactivated influenza vaccine                 Td/Tdap = Tetanus, diphtheria, (acellular
    vaccines). A history of Guillain-Barré syndrome (GBS) is a consideration with the following:           IPV = Inactivated poliovirus vaccine                           pertussis) vaccine
    1) Td/Tdap: if GBS has occurred within 6 weeks of a tetanus-containing vaccine and deci-               MMR = Measles, mumps, and rubella vaccine           VAR = Varicella vaccine
    sion is made to continue vaccination, give Tdap instead of Td if no history of prior Tdap;             MMRV = MMR+VAR vaccine
    2) Influenza vaccine (IIV or LAIV): if GBS has occurred within 6 weeks of a prior influenza
    vaccination, vaccinate with IIV if at high risk for severe influenza complications.

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